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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 ALEXIS BOOKARD
 2427 Fleetwing Drive                                CIVIL ACTION - LAW
 Levittown, PA 19057
                      Plaintiff,
                                                     NO. 2:18-cv-02424-JS
                        v.

 SEALED AIR CORPORATION                              JURY TRIAL DEMANDED
 2415 Cascade Pointe Boulevard
 Charlotte, North Carolina 28208

                        AND

 THE ESTÉE LAUDER COMPANIES, INC.
 767 Fifth Avenue
 New York, NY 10153

                        AND

 NORTHTEC, LLC
 200 Crossing Drive
 Bristol, PA 19007
                       Defendants.

                       CIVIL ACTION - AMENDED COMPLAINT

       Plaintiff, Alexis Bookard, by and through her counsel, Sacks Weston Diamond, LLC,

hereby alleges by way of Amended Complaint against Defendants as follows:

                                           PARTIES

       1.      Plaintiff, Alexis Bookard (hereinafter “Bookard”), is an adult individual residing

at 2427 Fleetwing Drive, Levittown, Pennsylvania.

       2.      At all times relevant herein, Bookard was a temporary worker with Manpower

Temporary Services assigned to a shipping facility located at 200 Crossing Drive, Bristol,

Pennsylvania (hereinafter “the Subject Property”).

       3.      The work performed by Bookard was not part of the regular business of the

defendants.
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       4.      Defendant, Sealed Air Corporation (hereinafter “Sealed Air”), is a Delaware

corporation with a principal place of business at 2415 Cascade Pointe Boulevard, Charlotte,

North Carolina 28208, and which regularly and systematically transacts business within the

Commonwealth of Pennsylvania, and within the City and County of Philadelphia.

       5.      At all times relevant herein, Sealed Air was in the business of manufacturing,

distributing and/or selling machinery, including the Pack Tiger Paper Cushioning System

Machine (hereinafter “the Pack Tiger”)

       6.      Defendant, The Estee Lauder Companies, Inc. (hereinafter “Estee Lauder”), is a

Delaware corporation organized and existing under and by virtue of the laws of the State of

Delaware with its principal place of business located at 767 Fifth Avenue, New York, New York.

       7.      At all times relevant herein, Estee Lauder leased, occupied, owned, controlled,

managed, and operated the Subject Property and a Pack Tiger located within the Subject

Property.

       8.      The principal business of Estee Lauder is the manufacturing and sale of cosmetic

products.

       9.      Defendant, Northtec LLC (hereinafter “Northtec”), is a New York corporation

with a principal place of business at 200 Crossing Drive, Bristol, Pennsylvania, and which

regularly and systematically transacts business within the Commonwealth of Pennsylvania, and

within the City and County of Philadelphia.

       10.     At all times relevant herein, Northtec leased, occupied, owned, controlled,

managed, and operated the Subject Property and a Pack Tiger Paper Cushioning System Machine

(hereinafter “the Pack Tiger”) located within the Subject Property.

       11.     The principal business of Northtec, LLC is the manufacturing and sale of

cosmetic products.


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       12.       The Pack Tiger (pictured below) creates custom-length paper pads, which can be

used in a variety of packaging techniques, including cushioning, blocking and bracing.




                                  FACTUAL BACKGROUND

       13.       On or about May 21, 2016, Bookard was in the course and scope of her

employment with Manpower Temporary Service and lawfully present on the business premises

of Defendants.

       14.       On or about May 21, 2016, Bookard attempted to assist a co-worker and change

the paper roll on the Pack Tiger machine.

       15.       Whilst doing so, her hand came in contact with the portion of the machine where

a guillotine cuts the paper roll (depicted below).




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        16.     As a result, three (3) of Bookard’s fingers were severed by the guillotine

mechanism of the Pack Tiger.

        17.     As a result, Bookard sustained serious injuries, including a traumatic amputation

of her three (3) fingers; the index, middle, and ring fingers of her right hand, and has been caused

to undergo various surgeries, medical procedures, and physical therapy.

        18.     As a result of the accident, Bookard was left with significant scars and permanent

deformity, which causes her everyday embarrassment, pain, and discomfort in performing her

everyday routine actions, as well as requiring assistance in executing basic day-to-day tasks.

                                  COUNT I – NEGLIGENCE
                                 BOOKARD v. ESTEE LAUDER

        19.     Plaintiff incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        20.     The above-described accident resulted from the negligence and carelessness of

Estee Lauder.

        21.     Estee Lauder had a duty to persons, such as Bookard, to exercise due care in their

maintenance, use, and upkeep of the Subject Property and of the Pack Tiger so as to avoid

causing accidents, injuries, and other damages.

        22.     The accident of May 21, 2016, and the resultant damages was caused by the

negligence and negligent acts and/or omissions of Estee Lauder by and through its agents,

representatives, workman, sub-contractors, and/or employees acting within the course and scope

of their employment generally and as follows:

                a) Failing to provide a safe work environment at the Subject Property;

                b) Failing to provide warnings regarding the potential for a laceration hazard
                   while utilizing the Pack Tiger;

                c) Failing to properly train and/or educate users how to properly and safely
                   operate the Pack Tiger;

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                d) Failing to properly oversee and/or supervise users in the operation of the Pack
                   Tiger; and

                e) Such other careless and negligent conduct, acts, and/or omissions as may be
                   revealed in discovery.

        23.     By virtue of the above-referenced conduct, acts and/or omissions, Estee Lauder

breached its duty of care to Bookard.

        24.     The accident of May 21, 2016, was a direct and proximate result of the

Defendant’s careless and negligent conduct, acts and/or omissions as averred above.

        25.     As a direct and proximate result of the incident, Bookard sustained serious

injuries, including permanent disfigurement, and a significant decrease in earning potential in an

amount in excess of $50,000.00.

        WHEREFORE, Bookard demands judgment in its favor and against Estee Lauder in an

amount in excess of $50,000.00, together with interests, costs, and such other relief as this

Honorable Court deems just and proper under the circumstances.

                                   COUNT II – NEGLIGENCE
                                   BOOKARD v. NORTHTEC

        26.     Bookard incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        27.     The above-described accident resulted from the negligence, carelessness, and

recklessness of Northtec.

        28.     Northtec had a duty to persons, such as Bookard, to exercise due care in their

maintenance, use, and upkeep of the Subject Property and of the Pack Tiger so as to avoid

causing accidents, injuries, and other damages.

        29.     The accident of May 21, 2016, and the resultant damages was caused by the

negligence and negligent acts and/or omissions of Northtec by and through its agents,



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representatives, workman, sub-contractors, and/or employees acting within the course and scope

of their employment generally and as follows:

                        a)      Failing to provide a safe work environment at the Subject Property;

                        b)      Failing to provide warnings regarding the potential for a laceration
                                hazard while utilizing the Pack Tiger;

                        c)      Failing to properly train and/or educate users how to properly and
                                safely operate the Pack Tiger;

                        d)      Failing to properly oversee and/or supervise users in the operation
                                of the Pack Tiger; and

                        e)      Such other careless and negligent conduct, acts, and/or omissions
                                as may be revealed in discovery.

        30.     By virtue of the above-referenced conduct, acts and/or omissions, Northtec

breached its duty of care to Bookard.

        31.     The accident of May 21, 2016, was a direct and proximate result of the Northtec’s

careless and negligent conduct, acts and/or omissions as averred above.

        32.     As a direct and proximate result of the incident, Bookard sustained serious

injuries, including permanent disfigurement, and a significant decrease in earning potential in an

amount in excess of $50,000.00.

        WHEREFORE, Bookard demands judgment in its favor and against Northtec in an

amount in excess of $50,000.00, together with interests, costs, and such other relief as this

Honorable Court deems just and proper under the circumstances.

                                          COUNT III – NEGLIGENCE
                                          BOOKARD v. SEALED AIR

        33.     Bookard incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        34.     The above-described accident resulted from the negligence, carelessness, and

recklessness of Sealed Air.

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       35.     Sealed Air had a duty to persons such as Bookard to exercise due care in their

manufacturing, distribution and/or sale of the Pack Tiger so as to avoid causing accidents,

injuries, and other damages.

       36.     The accident of May 21, 2016, and the resultant damages was caused by the

negligence and negligent acts and/or omissions of Sealed Air by and through its agents,

representatives, workman, sub-contractors, and/or employees acting within the course and scope

of their employment generally and as follows:

               a) Failing to provide instructions on how to properly and safely change the paper

                  roll within the Pack Tiger;

               b) Failing to provide warnings regarding the potential for a laceration and

                  amputation hazard while utilizing the Pack Tiger;

               c) Failing to provide instructions on how to properly and safely operate the Pack

                  Tiger;

               d) Failure to provide proper guards for the Pack Tiger;

               e) Failure to ensure that dangerous portions of the Pack Tiger were guarded by

                  location;

               f) Failure to ensure that pinch points / shear points would be unable to be

                  accessed while the Pack Tiger was/is operating;

               g) Failure to design and install interlocks on areas of the machine which could be

                  accessed while it was operational;

               h) Such other careless and negligent conduct, acts and/or omissions as may be

                  revealed in discovery.

       37.     By virtue of the above-referenced conduct, acts and/or omissions, Sealed Air

breached its duty of care to Bookard.


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        38.     The accident of May 21, 2016, was a direct and proximate result of the Sealed

Air’s careless and negligent conduct, acts and/or omissions as averred above.

        39.     As a direct and proximate result of the incident, Bookard sustained serious

injuries, including permanent disfigurement, and a significant decrease in earning potential in an

amount in excess of $50,000.00.

        WHEREFORE, Bookard demands judgment in its favor and against Sealed Air in an

amount in excess of $50,000.00, together with interests, costs, and such other relief as this

Honorable Court deems just and proper under the circumstances.

                                COUNT IV – BREACH OF WARRANTY
                                    PLAINTIFF v. SEALED AIR

        40.     Plaintiff incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        41.     Defendant made certain implied warranties when it manufactured, assembled,

designed, distributed and sold the Pack Tiger, including that it would be of merchantable quality

and fit for its intended purpose.

        42.     Defendant breached these warranties when it manufactured, assembled, designed,

distributed and sold a defective Pack Tiger, which was not of merchantable quality and was not

fit for its intended purpose, all as more fully set forth herein.

        43.     Plaintiff relied on Sealed Air’s skill, judgment and implied warranties of fitness

and merchantability, as well as the other warranties made by Sealed Air, with respect to the

manufacturing, assembling, designing, distribution and sale of the Pack Tiger.

        44.     Defendant, by and through its agents, workmen and employees, breached the

above-mentioned express and/or implied warranties of fitness and merchantability by

manufacturing, assembling, designing, distributing and selling a defective and dangerous Pack



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Tiger, and failing to ensure that the Pack Tiger did not malfunction during the course of normal

use, including, inter alia, failing to provide proper warnings and instructions.

       45.     The Pack Tiger designed, manufactured, sold, distributed or otherwise placed into

the stream of commerce by defendant failed during the course of normal and foreseeable use as

more fully set forth herein.

       46.     As a direct and proximate result of the incident, Bookard sustained serious

injuries, including permanent disfigurement, and a significant decrease in earning potential in an

amount in excess of $50,000.00.

       WHEREFORE, Bookard demands judgment in its favor and against Sealed Air in an

amount in excess of $50,000.00, together with interests, costs, and such other relief as this

Honorable Court deems just and proper under the circumstances.

                                   COUNT V – STRICT LIABILITY
                                    PLAINTIFF v. SEALED AIR

       47.     Plaintiff hereby incorporates by reference each and every allegation contained in

the above paragraphs as though the same were more fully set forth herein at length.

       48.     The Pack Tiger was unreasonably dangerous, defective and unsafe for its

ordinary, foreseeable and intended use by reason of its propensity to fail during its ordinary,

foreseeable and intended use, all as more fully outlined herein.

       49.     Defendant marketed, sold, distributed, or otherwise placed the PackTiger into the

stream of commerce in an unreasonably dangerous, defective and unsafe condition, inter alia, by

way of placing into the stream of commerce, a defective product wherein one could easily

sustain serious bodily injury, due to the lack of proper guards surrounding the dangerous areas of

the machine, namely the guillotine mechanism.

       50.     The failure of the Pack Tiger on May 7, 2017, and the losses and damages

suffered by Plaintiff were the direct and proximate result of the unreasonably dangerous,

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defective and unsafe condition of the Pack Tiger marketed, sold, distributed, and/or repaired and

returned by Sealed Air.

       51.     The Pack Tiger was defective and unreasonably dangerous at the time of sale

because, when used in an intended or foreseeable manner, the product presented an unknowable

and unacceptable danger to the average or ordinary consumer, such as Plaintiff’s insureds, all as

more fully set forth herein.

       52.     The Pack Tiger failed the consumer expectation test in that the product did not

perform as safely as an ordinary consumer, including Plaintiff, would have expected.

       53.     The Pack Tiger failed the risk balancing test in that a reasonable person would

conclude the probability and seriousness of harm caused by the product outweighs the burden

and costs of taking precautions against the harm.

       54.     The Pack Tiger was further defective in that it malfunctioned and failed to operate

and function as intended even though it was not subject to abnormal use and there were no other

reasonable secondary causes for the product’s malfunction.

       55.     The Pack Tiger was unreasonably dangerous, defective and unsafe for its intended

ordinary and foreseeable use as more fully set forth herein.

       56.     The Pack Tiger lacked adequate and necessary warnings and instructions

regarding monitoring, use, cleaning, maintenance, testing, inspections, and care.

       57.     At the time of the fire loss alleged herein, the Pack Tiger was in the same

condition as when it left the possession of and/or control of Sealed Air.

       58.     Bookard used the Pack Tiger for the purpose and in the manner intended and/or

expected by Sealed Air.

       59.     As a direct, factual, and proximate result of the defective and unreasonably

dangerous conditions and /or malfunction of the Pack Tiger, the defendant named herein is


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strictly liable for the damages more fully set forth herein pursuant to the Restatement (Second) of

Torts § 402A, the failure of the product to meet the consumer expectation test, the failure of the

product to meet the risk benefit test, and/or the failure of the product to otherwise operate and

function in a reasonably expected manner and consistent with Tincher v. Omega Flex, 2014 Pa.

LEXIS 3031 (Pa. Nov. 19, 2014).

       60.     As a direct and proximate result of the incident, Bookard sustained serious

injuries, including permanent disfigurement, and a significant decrease in earning potential in an

amount in excess of $50,000.00.

       WHEREFORE, Bookard demands judgment in its favor and against Sealed Air in an

amount in excess of $50,000.00, together with interests, costs, and such other relief as this

Honorable Court deems just and proper under the circumstances.

                                             Respectfully submitted,
                                             SACKS WESTON DIAMOND, LLC

Dated: October 3, 2018                BY:    /s/ Jesse M. Cohen
                                             JESSE M. COHEN, ESQUIRE
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 ALEXIS BOOKARD
               Plaintiff,                           CIVIL ACTION - LAW

                        v.
                                                    NO. 2:18-cv-02424-JS
 SEALED AIR CORPORATION, and THE
 ESTÉE LAUDER COMPANIES, INC., and
 NORTHTEC, LLC                                      JURY TRIAL DEMANDED
               Defendants.

                               CERTIFICATE OF SERVICE
       I, Jesse M. Cohen, counsel for Plaintiff, hereby state that a true and correct copy of

Plaintiff Alexis Bookard’s Amended Complaint was served on the parties listed below via

electronic filing or mailing and/or by placing a copy of same in the United States regular first-

class mail, postage prepaid:

Donald Davis, Esq.                              Daniel J. Kain, Esq.
Margolis Edelstein                              Littleton Joyce Ughetta Park & Kelly LLP
170 S. Independence Mall W., Suite 400E         201 King of Prussia Road, Ste. 220
Philadelphia, PA 19106                          Radnor, PA 19087
Attorney for Defendant Sealed Air               Attorney for Defendant Estee Lauder
                                                Companies and Northtec, LLC

                                            /s/Jesse M. Cohen
                                            JESSE M. COHEN, ESQUIRE
                                            Attorney for Plaintiff




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